Case 1:17-cv-05870-RPK-LB Document 7 Filed 10/25/17 Page 1 of 4 PageID #: 21




UNJTED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------------)(
KYLE FREI STAT,

                           Plaintiff,
                                                                               MEMORANDUM AND
           - against -                                                             ORDER
                                                                                  17-CV-5870 (RRM)
 EW YORK POLICE D EP 'T. ; DEPT. OF
CORRECTION; DEP 'T. OF JUSTICE; DANIEL
GASPERETTI ; and ANTHONY ARLISTICO,

                           Defendants.'
------------------------------------------------------------------)(
ROSL YNN R. MAUSKOPF, United States District Judge.

          Plaintiff Kyle Freistat, currently incarcerated at the Brooklyn Detention Complex, brings

this prose action under 42 U.S.C. § 1983, alleging the use of excessive force. By order dated

September 27, 20 17, the United States District Court fo r the Southern District of New York

transferred the action to this Court. (See Transfer Order (Doc No. 4).) Freistat's request to

proceed informa pauperis is granted for the purposes of this Order. For the reasons set forth

below, Freistat's claims against the New York City Police Department ("NYPD"), the New York

City Department of Correction ("DOC"), and the Department of Justice are dismissed. 28

U.S.C. § 191 SA. Frei stat' s claims against Officers Daniel Gasperetti and Anthony Arlistico will

proceed once the Corporation Counsel provides the addresses where the defendants may be

served.

                                               BACKGROUND
          The following facts are drawn from Freistat's complaint and are taken as true for the

purposes of this Order. Fre istat alleges that on July 26, 20 17, his constitutional rights were

violated when defendants Gasperetti and Arli stico stopped the vehicle that he was driving, and

used excessive force against him. Freistat alleges that he sustained injuries to his face, skull,


1
 The Court notes that although Freistat failed to include defendants Daniel Gaspere!li and Anthony Arlistico in the
caption of his complaint, he did name these individuals in the body of the complaint.
Case 1:17-cv-05870-RPK-LB Document 7 Filed 10/25/17 Page 2 of 4 PageID #: 22




torso, a nd legs. (Comp!. (Doc. No . 2) at 5). 2 Freistat seeks monetary damages.

                                            ST AND ARD OF REVIEW

           It is ax iomatic that prose complaints are held to less stringent standa rds than pleadings

drafted by attorneys, and the Court is required to read the plaintiff s prose complaint liberally

and interpret it raising the strongest arguments it suggests. See Erickson v. Pardus, 551 U.S. 89,

94 (2007); Hughes v. Rowe, 449 U.S. 5, 9 (1980); Sealed Plaint[ffv. Sealed Defendant # I , 537

F.3 d 185, 19 1-93 (2d Cir. 2008). Moreover, at the plead ings stage of the proceeding, the Com1

must assume the truth of " all well-pleaded, nonconclusory factual allegations" in the complaint.

Kiobel v. Royal Dwch Petroleum Co., 62 1 F.3d 11 1, 123 (2d Cir. 2010) (citing Ashcroft v. Iqbal,

556 U.S. 662 (2009)). A complaint must plead sufficient facts to "sta te a c laim to relief that is

plausible on its face." Bell At!. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

            Under 28 U .S.C. § l 9 l 5A, a district court "shall review, before docketing, if feasible or,

in any event, as soon as practicable after docketing, a complaint in a civil action in which a

prisone r seeks redress from a governmental entity or officer or employee of a governmental

entity. " 28 U.S .C. § 19 l 5A. Upon review, a district court shall di smiss a prisoner' s complaint

sua sponte if the complaint is "frivolous, malicious, or fai ls to state a claim upon which relief

may be granted ; o r seeks mone tary relief from a defendant who is immune from such relief." Id

                                                     DISCUSSION

           In order to maintain a § 1983 actio n, a plaintiff must allege two essential ele ments. First,

" the conduct complained of must have been committed by a person acting unde r colo r of state

law." Pitche/l v. Callan, 13 F.3d 545, 547 (2d Cir.1994) (internal citation omitted). Second,

" the conduct complained of must have de prived a person of rights, privileges or immunities

secured by the Constitution or laws of the U nited States." Id Section 1983 " does not create a



2   All citations to pages of the complain t refer to the Electronic Court Filing System (" ECF") pagination.

                                                             2
Case 1:17-cv-05870-RPK-LB Document 7 Filed 10/25/17 Page 3 of 4 PageID #: 23




federal right or benefit; it simply provides a mechanism for enforcing a right or benefit

established e lsewhere ." Morris- Hayes v. Board of Educ. of Chesler Union Free Sch. Dist. , 423

F.3 d 153, 159 (2d Cir. 2005) (citing Oklahoma Citv v. Tuttle, 471 U.S. 808, 816 (1985)).

        T he New York City C harter provides that " [a] ll acti ons and proceedings for the recovery

of penalties fo r the violation of any law shall be brought in the name of the City of New York

and not in that of any agency, except where otherwise provided by Jaw." N . Y.C. Charter C h. 17

§ 396. The DOC and the NYPD are agenci es of the City of New York and thus Jack the capacity

to be sued. See, e.g., Jenkins v. City of N. Y , 478 F.3 d 76, 93 n. 19 (2d Cir. 2007) (fi nd that the

N YPD is not a suable entity); Perez v. City ofNew York Dept. of Corrections, No. 16-CV-5307

(BMC) (LB), 20 16 WL 5477598, at *2 (E. D.N.Y. Sept. 29, 2016) (dism issing claims against

DOC because it is a non-suable entity); Reyes v. City of New York, No. 16-CV-823 (WFK), 2016

WL 1588503, at *2 (E.D.N.Y. Apr. 18, 2016) (NYC departm ents and agencies lack the capacity

to be sued). Accordingly, Freistat's claim against the DOC and the NYPD are dismissed. See 28

U.S.C. § 19 15A.

        Further, although Freistat names as a defendant the " Department of Justice for

wrongfully accusing me," he pleads no factual allegations in support of his claim. Accordingly,

Freistat's claim against the Department of Justice is dismissed fo r fa ilure to state a claim upon

w hich relief may be granted . See 28 U.S.C. § 19 15A.

                                           CONCLUS ION

Accordingly, Freistat' s claims against the New York City Police Department, the New York City

Department of Correctio n, and the Department of Justice are dismissed. See 28 U.S .C. § 19 15A.

No summons shall issue as to these defendants.



                                                    3
Case 1:17-cv-05870-RPK-LB Document 7 Filed 10/25/17 Page 4 of 4 PageID #: 24




       In accordance with Valentin v. Dinkins, 121 F.3d 72 (2d. Cir. 1997) (per curiam), the

Court hereby orders that within 45 days of this Order, the Corporation Counsel of the City of

New York shall ascertain the shield numbers and provide the addresses where Officers Daniel

Gasperetti and Anthony Arli stico can currently be served.

       The Court certifies pursuant to 28 U .S.C. § 19 15(a)(3) that any appeal from this Order

wou ld not be taken in good faith and therefore informa pauperis status is denied for the purpose

of an appeal. Coppedge v. United States, 369 U.S. 43 8, 444-45 ( 1962).

       The Court respectfu lly directs the Clerk of Court to mail a copy of this Memorandum and

Order to Kyle Frei stat, prose, and to note the mailing on the docket.


                                                     SO ORDERED.




                                                        s/Roslynn R. Mauskopf

                                                      ROSL YNN R. MAUSKOPF
                                                      United States District Judge

Dated: Brooklyn, New York
       Od ·     K      2017




                                                 4
